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STATE OF INDIANA _ IN THE DELAWARE SUPERIOR COURT NO, 2
$$: . .
COUNTY OF DELAWARE ) TERM: 1992

CAUSE NO. 18002-9204-cF.~46

STATE OF INDIANA
VS ) ORDER

 

WILLIAM BARNHOUSE

Comes now the State of Indiana by and through Jeff Arnold, Deputy
Proseuctor for Richard Reed, Prosecutor, and comes now the defendant,
William Barnhouse, jn person and by counsel, Jack Quirk.

Evidence is submitted to the Court and jury by the State and the State
rests. Defendant moves for Directed Verdict. Motion overruled. Defendant
rests, and that being all the evidence offered, cause concluded. Closing
statements of counsel are heard and concluded. The Court reads it final
instructions being numbered one-(1) through twenty-five (25) and
defendant's final instruction numbered one (1). The jury retires at

“4:58P.M. to deliberate its verdict,

Comes now the jury by its Foreperson, Amos M. Rodgers, dr. and renders
its verdict at 6:30 P.M. as follows:

We, the Jury, find the defendant, William Barnhouse guilty but
mentally i17 on Count I, Rape, Class A Felony and Guilty but mentally
il] on Criminal Deviate Conduct, Class A Felony, Count IT.

Pre-sentence Investigation ordered, Sentencing set for January
7, 1993, at 1:30 P.M. Defendant remanded. No bond.

DATED: DECEMBER 15, 1992.

RICHARD A. BAILEY, dUDGE
DELAWARE SUPERIOR COURT NO. 2

 

 
